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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA



 IN RE: SOCIAL MEDIA ADOLESCENT                          MDL No. 3047
 ADDICTION/PERSONAL INJURY
 PRODUCTS LIABILITY LITIGATION
                                                         Case No.: 4:22-md-03047-YGR-PHK


                                                         JOINT LETTER BRIEF
                                                         REGARDING DEPOSITION OF
                                                         PLAINTIFF LAUREL
 This Filing Relates to:                                 CLEVENGER’S ESI VENDOR
                                                         MARK LANTERMAN

 Laurel Bryce Clevenger
                                                         Judge: Hon. Yvonne Gonzalez Rogers
 Member Case No.: 4:22-cv-06457
                                                         Magistrate Judge: Hon. Peter H. Kang




Dear Judge Kang:
       Pursuant to the Court’s Standing Order for Discovery in Civil Cases, Plaintiff Laurel
Clevenger and Defendants respectfully submit this joint letter brief regarding their outstanding
dispute over the deposition of Plaintiff’s ESI vendor, Mark Lanterman, relating to the factory reset
performed on Plaintiff’s iPhone.
       Pursuant to the Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that
they met and conferred by video conference, email, and correspondence on numerous occasions
before filing this brief. On October 22, 2024, lead trial counsel for the Parties involved in the
dispute attended the final conferral. Because all lead counsel are not located in the geographic
region of the Northern District of California or otherwise located within 100 miles of each other,
they met via videoconference. Lead trial counsel have concluded that no agreement or further
negotiated resolution can be reached.
       The parties will be prepared to address these disputes at the Court’s earliest convenience,
including at the December 11, 2024, Discovery Management Conference.




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Dated: December 5, 2024            Respectfully submitted,

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                                                 Plaintiffs’ Steering Committee Membership

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                                            ATTESTATION
         I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to
the filing of this document has been obtained from each signatory hereto.
        Pursuant to Section H of this Court’s Standing Order in Civil Cases, lead counsel for Plaintiffs and
each of the Defendants attended the final meet-and-confer on October 22, 2024, which was conducted via
a videoconference Zoom meeting, as lead counsel were in attendance from locations across the country
more than 100 miles apart.


Dated: December 5, 2024                                           /s/ Ashley M. Simonsen




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Defendants’ Position: Plaintiff Laurel Clevenger relies on the declaration of ESI vendor Mark
Lanterman to argue she did not lose any relevant data when she performed a factory reset on her
main device, despite multiple warnings that doing so would render her data unrecoverable (which
it did). Yet, Plaintiff has refused Defendants’ request to depose Mr. Lanterman—or any other ESI
vendor. Mr. Lanterman is undoubtedly a witness with relevant knowledge as to Plaintiff’s
spoliation of evidence. Defendants are entitled to depose him.
On August 7, 2024, Plaintiff performed a factory reset of her iPhone 13—the main device she used
to access social media from 2021 to on or around August 7, 2024. This factory reset occurred
before the iPhone was forensically imaged as ordered by this Court on July 18, 2024, and more
than two years after Clevenger filed her case. See C. Richardson Ltr. to Defs., Aug. 22, 2024, at 1.
A factory reset is a multi-step process that requires the user to click through multiple links with
warnings that the reset will erase all data.
Plaintiff relies on declarations from three ESI vendors—Mark Lanterman, Chief Technology
Officer of Computer Forensic Services (“CFS”); Duc Nguyen; and Michael Ciaramitaro 1—to
claim Defendants are not prejudiced by the reset. Plaintiff alleges that because data from the iPhone
is recoverable from other sources, including prior logical extractions, the data was not actually
“lost.” As an initial matter, there is no doubt that relevant data was lost and that spoliation occurred.
Plaintiff’s counsel has conceded a logical extraction does not include relevant data collected in the
file-system level extraction, as it is missing, for example, “usage logs, file-systems, databases, and
other system level information.” Aug. 2, 2024, Status Report. Dkt. 1047 at 3, n.2.
In addition, Mr. Lanterman’s ten-page declaration admits the data, as it existed on Plaintiff’s
iPhone, is now “unrecoverable.” Decl. of Mark Lanterman, ¶ 36 (Aug. 21, 2024). Mr. Lanterman
states only that “some of the data was preserved from both the iPhone 13 itself and other sources.”
Id. (emphasis added). Some data is not all data. And notably absent from Mr. Lanterman’s
declaration is any discussion or analysis of what data would have been discoverable absent the
reset but now is no longer recoverable. Instead, Mr. Lanterman uses one database “as an example”
to speculate that only limited application usage data—namely device log information from
approximately July 8, 2024, to August 7, 2024, for that particular database—is now irretrievable.
Plaintiff has put Mr. Lanterman’s declaration (and the statements within it) squarely at issue by
attempting to use it to shield against spoliation allegations. See Fed. R. Civ. P. 37(e)(2)
(recognizing spoliation is sanctionable where ESI that should have been preserved was lost
because “a party failed to take reasonable steps” to preserve it, prejudicing the opposing party).
Yet, she also improperly refuses Defendants’ right to challenge Mr. Lanterman’s statements
through a deposition.
Courts have routinely held parties are entitled to depose an opposing party’s declarant regarding
issues contained within the declaration. See, e.g., Dowie v. Fleishman-Hillard Inc., 2006 WL
8434394, at *4 (C.D. Cal. Jan. 27, 2006) (recognizing that a declarant “is a fact witness with
relevant knowledge and information,” entitling the opposing party to depose him to prepare its

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    Defendants initially requested depositions of all three ESI vendors. Following good-faith conferrals, Defendants
    narrowed the request to Mr. Lanterman.

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case). This same principle applies when the declaration focuses on spoliation. See Spencer v.
Lunada Bay Boys, 2017 WL 11527978, at *16 (C.D. Cal. Nov. 29, 2017), R&R adopted, 2018 WL
10699689 (C.D. Cal. Jan. 8, 2018) (allowing plaintiffs to depose both defendants for a second time
to “fully explore the spoliation issues”); Zucchella v. Olympusat, Inc., 2021 WL 4785939, at *3
(C.D. Cal. June 16, 2021) (allowing the depositions of the plaintiff’s IT consultants because “the
proposed deposition testimony may reveal information relevant to defendants’ allegations of
spoliation, i.e., that the wiping of the laptop resulted in the permanent deletion of relevant data.”).
By relying on Mr. Lanterman to argue no relevant evidence was lost and thus Defendants are not
prejudiced, Plaintiff admits that her ESI vendor has knowledge about the spoliation that occurred
in this case. Defendants are entitled to depose him to explore Plaintiff’s spoliation of evidence and
to adequately prepare this case for trial. Defendants request the Court order Plaintiffs to produce
Mr. Lanterman for a deposition of three hours of on-the-record time, and that such time not count
against Defendants’ overall limit. Defendants reserve the right to seek further relief related to
Plaintiff’s spoliation.
Defendants’ Response to Plaintiff’s Briefing: Plaintiff does not dispute that spoliation occurred
immediately before her iPhone 13 was supposed to be sent out for forensic imaging. Plaintiff also
does not challenge that Defendants are entitled to pursue discovery regarding her spoliation. Nor
could she. See Lunada Bay Boys, 2017 WL 11527978, at *16 (recognizing a party is entitled to
“fully explore the spoliation issues” through discovery). Plaintiff instead insists she alone has
relevant knowledge regarding the “facts and circumstances that led to the factory reset”—which
she erroneously claims was “accidental” and “inadvertent[]” 2—so her agreement to additional
deposition time and interrogatories is sufficient. Not so. Defendants are entitled to all “information
relevant to defendants’ allegations of spoliation,” including “that the [reset] of the [iPhone 13]
resulted in the permanent deletion of relevant data.” Zucchella, 2021 WL 4785939, at *3. Mr.
Lanterman’s declaration—not Plaintiff’s—addresses that issue. 3
Plaintiff’s briefing further emphasizes why Mr. Lanterman’s deposition is necessary. Mr.
Lanterman, and not Defendants’ experts, examined Plaintiff’s reset iPhone and conducted a “post
hoc determination” of the data lost. Based on his assessment as set forth in his declaration, Plaintiff
claims “the KnowledgeC app usage data is the only data believed to be lost due to the factory
reset.” But Mr. Lanterman’s declaration identifies KnowledgeC as an “example” of a database
where the app usage data was irretrievably lost. Lanterman Decl. at 33 (“The iOS operating system
maintains databases, like Knowledge C, which record certain device activities. For example, the
Knowledge C database records, among other items, application usage logs and device
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    While irrelevant to Defendants’ relief here or request to depose Mr. Lanterman on the data lost, see Khan v.
    Rogers, 2018 WL 4693414, at *3 (N.D. Cal. Sept. 28, 2018) (holding that a plaintiff has an affirmative obligation
    to preserve relevant evidence from a phone, and plaintiff’s “accidental or inadvertent” loss of data “may subject
    them to sanctions”), Clevenger took intentional action to delete relevant data from her iPhone 13. To reset a
    device, a user generally must click at least two different links that warn a user that proceeding will “Erase All
    Content and Settings,” “Erase This iPhone,” and “remove personal data.” See How to factory reset your iPhone,
    iPad, or iPod touch, https://support.apple.com/en-us/108931 (last visited Nov. 16, 2024). Such action cannot
    fairly be characterized as inadvertent or accidental.
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    Defendants disagree that submission of any exhibits beyond Mr. Lanterman’s declaration comports with the
    Court’s Standing Order.

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locks/unlocks.”) (emphasis added). Defendants are entitled to explore the statements in the
declaration, including to probe Mr. Lanterman’s “beliefs” about the extent of the data lost. 4
Plaintiff’s attempt to cast Mr. Lanterman as a consulting witness entitled to Rule 26(b)(4)(D)
protection must also be rejected. “Submitting sworn testimony is incompatible with retaining the
status of a mere consulting expert immune from discovery.” Sims v. Metro. Life Ins. Co., 2006 WL
3826716, at *2 (N.D. Cal. Dec. 27, 2006). Plaintiff may not “use[] [Mr. Lanterman’s opinions]
offensively in judicial proceedings” and simultaneously avoid a deposition. Walnut Creek Manor,
LLC v. Mayhew Center, LLC, 2008 WL 11338242, at 4, n. 4 (C.D. Cal. Nov. 14, 2008); see also
Worley v. Avanquest N. Am. Inc., 2013 WL 6576732, at *5 (N.D. Cal. Dec. 13, 2013) (recognizing
“Rule 26(b)(4)(B) [now, Rule 26(b)(4)(D)] is rooted in fairness and that it would be unfair to allow
a party to use expert testimony as both a sword and a shield.”). Defendants accordingly request the
Court order Plaintiff to produce Mr. Lanterman for a three-hour deposition, not to count against
Defendants’ overall limit. 5




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    Plaintiff points to prior cloud-based and logical imaging conducted on her iPhone 13 before the reset. But as is
    recognized by the Court’s July 18, 2024 Order requiring full file forensic images on all bellwether Plaintiffs’
    primary devices, those extractions are not as comprehensive as a full file forensic image and do not capture all
    relevant information from a device. Further, Plaintiff’s argument that her injuries are no longer continuing is
    inconsistent with the dates she alleged her injuries in this case ended. Fifth Am. Pl. Fact Sheet, VII.A.
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    Plaintiff’s brief seeks to argue the merits of whether a spoliation sanction is warranted, which is not currently
    before the Court. At issue is solely whether Defendants are entitled to depose a witness offering opinions relevant
    to that inquiry. Moreover, Plaintiff’s position that the factory reset occurred after the Relevant Time Period is, at
    bottom, a re-argument of the Court’s order that forensic imaging performed after the Relevant Time Period is
    relevant and discoverable. DMO 8, ECF No. 1025.

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Plaintiff’s Position: On August 22, Beasley Allen notified Defendants of the August 7 inadvertent
factory reset of Plaintiff’s iPhone 13, (see Attachment “A,” Letter to Defendants Regarding
Unintentional Factory Reset), and voluntarily enclosed a declaration from Plaintiff that detailed,
among other things: (1) that, prior to the factory reset, Beasley Allen apprised Plaintiff of both her
duty to preserve and the details of the device replacement program; (2) that, despite being so
apprised, on August 7, Plaintiff activated the iPhone 15 Pro and initiated the transfer of data from
the iPhone 13 to the iPhone 15 Pro; (3) that Plaintiff thought she had transferred “everything over
from the iPhone 13” according to the on-screen options; and (4) she was unaware that she did
anything wrong during the transfer process. (See Attachment “B,” Declaration of Laurel Bryce
Clevenger.) Plaintiff’s declaration makes clear that the factory reset was an honest mistake.
Indeed, as detailed in the August 22 letter, Plaintiff’s iPhone 13, and other devices, had already
undergone logical collection; multiple cloud-based sources were also collected. Any suggestion
that Plaintiff consciously or intentionally destroyed ESI is without merit. Plaintiff had previously
voluntarily submitted the iPhone 13 and other relevant data sources for remote collection and
preservation and should not be deemed to have fully comprehended the distinction between the
full file system level extraction and the previous forensic collections, topics that took the Parties
months to work through. Beasley Allen also voluntarily enclosed declarations from Mark
Lanterman and other forensic examiners regarding (1) the date and scope of Plaintiff’s prior
collections and (2) the data believed to be lost because of Plaintiff’s inadvertent factory reset of
the iPhone 13. (See Attachments “C”-“E,” Declarations of Michael Ciaramitaro, Duc Nguyen,
and Mark Lanterman.) As detailed therein, because Plaintiff’s cloud data was collected on May
6, and a logical collection done on May 13, KnowledgeC app usage data 6 is the only data believed
to be lost due to the factory reset. Neither of Plaintiff’s forensic examiners have percipient
knowledge of the facts or circumstances that led to the factory reset of Plaintiff Clevenger’s phone.
In addition to the exhaustive declarations provided to Defendants nearly three months ago, Plaintiff
Clevenger also agreed to three additional interrogatories and 45 minutes of additional deposition
time to allow inquiry into the facts of the factory reset. Nevertheless, Defendants demand a
deposition of Mark Lanterman, who was not present when the reset occurred and could not provide
any information about the occurrence beyond what Defendants’ own forensic experts could. 7 For
the reasons that follow, Defendants’ discovery demand does not meet the standard imposed by
Fed. R. Civ. P. 26(b)(4)(D).
Plaintiff’s Response to Defendants’ Briefing:
Fed. R. Civ. P. 26(b)(4)(D) “generally prohibits a party from discovering facts known or opinions
held by a non-testifying expert that was prepared in anticipation of trial.” “This rule was designed
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    Defendants’ claim that the loss of the routinely ephemeral KnowledgeC data impairs their
    defense is unsupported. Plaintiff’s use of the iPhone 13 was well after her injuries and initiation
    of her lawsuit. The May 6 collection preserved over 200GB of data, and Plaintiff has produced
    over 40,000 documents.
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    Defendants’ experts have access to the FFS extractions of Plaintiffs devices and the declaration
    which are the same references relied upon by Mark Lanterman in his declaration.

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to promote fairness by precluding unreasonable access to an opposing party’s diligent trial
preparation.” Aim High Inv. Grp., LLC v. Spectrum Labs., LLC, No. 82200011DOCADSX, 2022
WL 16859974, at *2 (C.D. Cal. Oct. 20, 2022) (internal quotation omitted). “With fairness in mind,
a party may obtain non-testifying expert discovery only as allowed under Rule 35(d) or under
exceptional circumstances.” Id.; Fed. R. Civ. P. 26(b)(4)(D)(i)-(ii). “[T]he party seeking [facts
known or opinions held by a non-testifying expert] carries a ‘heavy burden of proving exceptional
circumstances’ and the burden of proving waiver of protection under Rule 26(b)(4)(D).” Id.
(internal citation omitted). It is undisputed that Plaintiff has not designated Mark Lanterman as a
testifying expert in this case. It is likewise undisputed that Mark Lanterman’s “facts known or
opinions held” about the factory reset were prepared in anticipation of litigation, and thus, at least
initially, were covered by the protection of Rule 26(b)(4)(D). Defendants must therefore establish
both exceptional circumstances and waiver of Rule 26(b)(4)(D) protection to compel Mark
Lanterman’s deposition.
Courts may find exceptional circumstances “when it is impracticable for the party seeking
discovery to obtain facts or opinions on the same subject by other means, or the object or condition
at issue is destroyed or has deteriorated after the non-testifying expert observes it but before the
moving party’s expert has an opportunity to observe it.” U.S. Inspection Servs., Inc. v. NL
Engineered Sols., LLC, 268 F.R.D. 614, 623 (N.D. Cal. 2010); see Oki America, Inc. v. Advanced
Micro Devices, Inc., No. C 04–3171 CRB (JL), 2006 WL 2987022, at *2-3 (N.D.Cal. Sept. 27,
2006) (noting that “court after court has refused to permit discovery of non-testifying experts”
where other means to obtain information exist). Here, Mark Lanterman’s knowledge of the factory
reset is strictly limited to the fact that the reset occurred, knowledge gained after Plaintiff
Clevenger shipped the phone to him. The extent to which Mr. Lanterman has knowledge of what
led to the reset is solely attributable to his review of Plaintiff Clevenger’s declaration. Mark
Lanterman developed opinions, after the reset, regarding what data was irretrievably lost due to
the reset, but knowledge of the scope of the erasure does not exclusively reside with Mark
Lanterman. As counsel for Meta acknowledged during the October 24, 2024, hearing before this
Court, Meta’s counsel has “spoken to [their] forensic experts, and … have a declaration from
[Plaintiffs]” regarding the type of data at issue here. (See 10/24/24 DMC Tr. 102:5-13.) It is
undisputed that Mark Lanterman’s knowledge of the facts leading up to the reset come from his
review of Plaintiff Clevenger’s declaration, the same declaration Plaintiff provided to Defendants
on August 22. Mr. Lanterman’s post hoc determination that a reset had occurred, and the
consequences of the reset, does not constitute a condition that Mark Lanterman had an opportunity
to observe that is no longer observable by Defendants. “The object or condition at issue”—
Plaintiff’s iPhone 13 in its reset state—is not unavailable; it is in the possession of CFS should
Defendants desire to inspect it. Defendants are equally capable of developing opinions regarding
the consequences of the reset without unnecessarily subjecting Mark Lanterman to deposition.
There is no exceptional circumstance that, in fairness, requires that Mark Lanterman be deposed.
Any claim of waiver of Rule 26(b)(4)(D) protection is similarly without merit. The submission of
Mark Lanterman’s declaration to Defendants, alone, is not a basis for waiver. See Walnut Creek
Manor, LLC v. Mayhew Ctr., LLC, No. CV 08-6877-AHM(CTX), 2008 WL 11338242, at *4 (C.D.
Cal. Nov. 14, 2008) (noting that subject matter waiver is not summarily warranted by virtue of

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disclosure of opinions in connection with judicial proceedings). Rather, “[s]ubject matter waiver
is construed narrowly, and is reserved for exceptional circumstances in which certain disclosed
and undisclosed materials must be considered together to ensure fairness.” Intex Recreation Corp.
v. Bestway USA, Inc., No. LA CV19-08596 JAK (EX), 2024 WL 4404982, at *11 (C.D. Cal. Sept.
6, 2024); see Bittaker v. Woodford, 331 F.3d 715, 720 (9th Cir. 2003) (“the court must impose a
waiver no broader than needed to ensure the fairness of the proceedings before it”). Mark
Lanterman disclosed the full range of his understanding of the reset and its consequences in his
August 22 declaration to Defendants; he possesses no undisclosed knowledge about the reset or
its consequences.
The failure to preserve Plaintiff Clevenger’s iPhone 13 app usage data was both inadvertent and
non-prejudicial to Defendants, undermining Defendants’ spoliation claim. The reset was a
regrettable accident, not a “conscious disregard” of Plaintiff’s preservation obligations. See Apple
Inc. v. Samsung Elecs. Co., 888 F. Supp. 2d 976, 998 (N.D. Cal. 2012) (discussing the requisite
mental state). Moreover, the Relevant Time Period for discovery in this case concluded on April
1, 2024. As indicated in Mr. Lanterman’s declaration, and not disputed by Defendants, common
industry standards provide that app usage data is typically purged after approximately 90 days.
This means that app data usage that could have been collected from the iPhone 13 as of August 8,
2024, would reflect information back to approximately May 8, 2024, outside the Relevant Time
Period by over one month. The law imposes only a duty to preserve relevant evidence for its
adversary’s use in litigation. See In re Napster, Inc. Copyright Litig., 462 F. Supp. 2d 1060, 1067
(N.D. Cal. 2006).




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